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14
      in Possession
15                                          UNITED STATES BANKRUPTCY COURT
16                                          NORTHERN DISTRICT OF CALIFORNIA
17                                                   SAN FRANCISCO DIVISION
18

19
                                                                    Case Nos. 19-30088 (DM)
20      In re:                                                                19-30089 (DM)

21      PG&E CORPORATION,                                           Chapter 11

22                                                 Debtor.          MOTION OF DEBTORS PURSUANT TO
                                                                    11 U.S.C. §§ 105, 362, 363, 364, 503 AND
23      Tax I.D. No. XX-XXXXXXX                                     507, AND FED. R. BANKR. P. 2002, 4001,
                                                                    6003, 6004 AND 9014 FOR INTERIM AND
24      In re:                                                      FINAL ORDERS (I) AUTHORIZING THE
                                                                    DEBTORS TO OBTAIN SENIOR
25      PACIFIC GAS AND ELECTRIC                                    SECURED, SUPERPRIORITY,
        COMPANY,                                                    POSTPETITION FINANCING,
26                                                                  (II) GRANTING LIENS AND
                                                   Debtor.          SUPERPRIORITY CLAIMS,
27                                                                  (III) MODIFYING THE

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       Tax I.D. No. XX-XXXXXXX                             AUTOMATIC STAY, (IV) SCHEDULING
 1                                                         FINAL HEARING AND (V) GRANTING
                                                           RELATED RELIEF
 2
                                                           Date:
 3                                                         Time:
                                                           Place:
 4

 5
            PG&E Corporation (“PG&E Corp.”) and Pacific Gas and Electric Company (the “Utility” or
 6
     the “Borrower”), as debtors and debtors-in-possession (collectively, “PG&E” or the “Debtors” and
 7
     together with their non-Debtor subsidiaries, the “Company”) in the above-captioned Chapter 11 Cases
 8
     (the “Chapter 11 Cases”), hereby submit this Motion (the “Motion” or “DIP Motion”), pursuant to
 9
     sections 105, 362, 363, 364(c)(1), 364(c)(2), 364(c)(3), 364(e), 503 and 507 of title 11 of the United
10
     States Code (the “Bankruptcy Code”), Rules 2002, 4001, 6003, 6004 and 9014 of the Federal Rules
11
     of Bankruptcy Procedure (the “Bankruptcy Rules”) and Rules 2002-1 and 4001-1 of the Bankruptcy
12
     Local Rules of the United States Bankruptcy Court for the Northern District of California (the “Local
13
     Rules”), for authorization to obtain $5.5 billion of secured, superpriority postpetition financing on the
14
     terms detailed herein. The Debtors also seek an interim order approving the immediate borrowing and
15
     use of $1.5 billion of financing on the terms described herein in order to enable them to continue
16
     operating their businesses between the Petition Date and a final hearing on this Motion (the “Interim
17
     Period”).
18
            A proposed form of order granting the relief requested herein on an interim basis (the “Interim
19
     Order”) is attached hereto as Exhibit A.
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 1                                          INTRODUCTORY STATEMENT

 2            By this Motion, PG&E requests entry of the Interim Order, as well as a Final Order (the “Final

 3   Order”) granting, among other things, the following relief:

 4               (1) Authorization of DIP Facilities – authorizing the Borrower to obtain postpetition
                     financing pursuant to a senior secured, superpriority debtor-in-possession new money
 5                   credit facility in an aggregate principal amount of up to $5,500,000,000 on the terms
                     and conditions set forth in the senior secured superpriority debtor-in-possession credit,
 6
                     guaranty and security agreement substantially in the form attached hereto as Exhibit B
 7                   (the “DIP Credit Agreement”)1, by and among the Borrower, PG&E Corp. and the
                     other Guarantors (the “Guarantors”), the several banks and other financial institutions
 8                   or entities from time to time party thereto as lenders or issuing lenders (collectively,
                     the “DIP Lenders”), J.P. Morgan Securities LLC, Merrill Lynch, Pierce, Fenner &
 9                   Smith Incorporated, Barclays Bank PLC, Citibank, N.A., BNP Paribas Securities
                     Corp., Credit Suisse Loan Funding LLC, Goldman Sachs Bank USA, MUFG Union
10
                     Bank, N.A. and Wells Fargo Securities LLC, as joint lead arrangers and joint
11                   bookrunners (together and in such capacities, the “DIP Arrangers”), JPMorgan Chase
                     Bank, N.A., as administrative agent (in such capacity, and together with its successors
12                   and permitted assigns, the “DIP Administrative Agent” or “JPMorgan”), and
                     Citibank, N.A., as collateral agent (in such capacity, and together with its successors
13                   and permitted assigns, the “DIP Collateral Agent”, and together with the DIP
14                   Administrative Agent, the “DIP Agents”), which credit facility shall comprise (a) a
                     revolving credit facility (the “DIP Revolving Facility”; the loans incurred thereunder,
15                   the “DIP Revolving Loans”) with aggregate commitments of up to $3,500,000,000,
                     including a letter of credit sub-facility in an aggregate amount of up to $1,500,000,000
16                   (the “DIP L/C Subfacility”), (b) a term loan facility (the “DIP Term Loan Facility”)
                     in an aggregate principal amount of $1,500,000,000 (the loans incurred thereunder, the
17                   “DIP Term Loans”) and (c) a delayed draw term loan facility in an aggregate principal
18                   amount of $500,000,000 (the “DIP Delayed Draw Term Loan Facility”); (the loans
                     incurred thereunder, the “DIP Delayed Draw Term Loans”; the DIP Delayed Draw
19                   Term Loans together with the DIP Revolving Loans and the DIP Term Loans, the “DIP
                     Loans”; the DIP Delayed Draw Term Loan Facility, together with the DIP Revolving
20                   Facility and the DIP Term Loan Facility, the “DIP Facilities”)2 ”) and shall include
                     the following features:
21
                       (a)      Interest Rates: DIP Revolving Loans shall accrue interest at L+225 bps per
22                              annum and DIP Term Loans and DIP Delayed Draw Term Loans shall each
                                accrue interest at L+250 bps per annum; default interest shall equal an
23
                                additional 2% per annum;
24

25        1
            Capitalized terms used herein but not otherwise defined herein shall have the meaning given to them in the DIP
26   Credit Agreement.

          2
27          The DIP Facilities also provide the Debtors the flexibility to obtain up to an additional $4.0 billion in incremental
     term loan and/or revolving commitments, subject to further approval by the Court and satisfaction or waiver of customary
28   conditions.

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                     (b)     Maturity Date: December 31, 2020, subject to the Borrower’s option to extend
 1                           the term by additional 12 months in accordance with the terms and conditions
 2                           of the DIP Credit Agreement including the payment of a 25 bps extension fee
                             on the then outstanding loans and commitments;
 3
                     (c)     Events of Default: Material events of default include:
 4                           i.    Default in payment obligations;
                             ii. Inaccuracy of representations and warranties when made or deemed made
 5                                 or breach of covenant;
                             iii. Cross-default to other postpetition or unstayed indebtedness
 6
                             iv. Entry of unstayed judgments;
 7                           v.    Invalidity of loan documents, security interests or guarantees
                             vi. Dismissal or conversion of cases to a case under chapter 7;
 8                           vii. Appointment of a trustee, responsible officer or an examiner having
                                   expanded powers under Bankruptcy Code 1104 (other than (x) a fee
 9                                 examiner or (y) for purposes of an investigation pursuant to Sections
                                   1106(a)(3) and (4) of the Bankruptcy Code);
10
                             viii. Entry of an order (1) staying, reversing, vacating, modifying or amending
11                                 the Interim Order or Final Order, (2) granting relief from stay, (3)
                                   impairing rights of Agents and Lenders or avoiding any amounts received
12                                 in respect of the DIP Obligations, (4) authorizing financing or sale of
                                   substantially all assets without the repayment of DIP Loans or (5) except
13                                 as permitted by the DIP Loan Documents, granting senior or pari passu
                                   liens or superpriority claims;
14
                             ix. Filing by the Debtors or confirmation of a reorganization plan that does
15                                 not require the repayment of the DIP Loans;
                             x.    Final Order not being entered by April 15, 2019;
16                           xi. Any governmental authority preventing the Debtors from conducting any
                                   material part of their business;
17                           xii. Loss, revocation or termination of any license, permit, lease or agreement
18                                 necessary and material to Debtors’ business, or the cessation of any
                                   material part of the Loan Parties’ business for a material period of time;
19                                 and
                             xiii. A material portion of the DIP Collateral, taken as a whole, shall be taken
20                                 or impaired through condemnation or shall have been materially
                                   damaged, and the consideration or insurance proceeds, as applicable,
21                                 received therefor shall be materially less than the fair market value
22                                 thereof;
                     (d)     Borrowing Limits: The Interim Order contemplates $1.5 billion being made
23
                             available under the DIP Revolving Credit Facility upon entry of the Interim
24                           Order (and the satisfaction of all other closing conditions) and the remaining
                             $4.0 billion being made available upon entry of the Final Order (and the
25                           satisfaction of all other closing conditions);

26                   (e)              Conditions to Closing: Material closing conditions include:
                                      i.      Execution of DIP Credit Agreement;
27                                    ii. The payment of fees and expenses set forth in the DIP Loan Documents;
                                      iii. The accuracy of all representations and warranties and the absence of a
28
                                              default or event of default;
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                               iv.   Receipt of a valid and perfected security interest in the Collateral;
 1                             v.    Receipt of a 13-week cash flow forecast and projections through
 2                                   December 31, 2020;
                               vi. Entry of Interim Order authorizing DIP Loans no later than five business
 3                                   days following the Petition Date;
                               vii. Entry of all other first day orders; and
 4                             viii. Absence of proceedings pending or, to the knowledge of the Borrower,
                                     threatened that is not stayed and that could reasonably be expected to
 5
                                     result in a material adverse change;
 6               (2) Issue Guarantees – authorizing the Guarantors3 (together with the Borrower, the
                     “Loan Parties”) to jointly and severally guarantee on a senior secured superpriority
 7
                     basis the DIP Loans and the DIP Obligations (as defined below);
 8               (3) Entry into DIP Loan Documents – authorizing the Debtors to execute and deliver the
 9                   DIP Credit Agreement and other documentation, including security agreements, pledge
                     agreements, mortgages, guaranties, promissory notes, certificates, instruments,
10                   commitment letters, the Fee Letters (as defined below), and such other documentation
                     which may be necessary or required to implement the DIP Facilities and perform
11                   thereunder and/or that may be reasonably requested by the DIP Administrative Agent,
                     in each case, as amended, restated, supplemented or otherwise modified from time to
12
                     time in accordance with the terms thereof and hereof (collectively, together with the
13                   DIP Credit Agreement, the “DIP Loan Documents”; all loans, advances, extensions
                     of credit, financial accommodations, reimbursement obligations, fees (including,
14                   without limitation, commitment fees, administrative agency fees and other fees payable
                     pursuant to the Fee Letters), costs, expenses and other liabilities, all other obligations
15                   (including indemnities and similar obligations, whether contingent or absolute) and all
                     other amounts due or payable under the DIP Loan Documents, collectively, the “DIP
16
                     Obligations”), and to perform such other and further acts as may be necessary,
17                   desirable or appropriate in connection therewith;

18               (4) Liens and Superpriority Claims – granting to the DIP Agents for the benefit of the
                     DIP Lenders (collectively, the “DIP Secured Parties”) allowed superpriority
19                   administrative claims pursuant to section 364(c)(1) of the Bankruptcy Code in respect
                     of all DIP Obligations, and valid, enforceable, non-avoidable and automatically
20                   perfected liens on and security interests in all DIP Collateral (as defined below),
                     pursuant to sections 364(c)(2) and 364(c)(3) of the Bankruptcy Code, to secure the DIP
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28          As of the date hereof, only PG&E Corp. is a Guarantor under the DIP Loan Documents.

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                   Obligations, in each case as subject to the Carve-Out set forth in the Interim Order or
 1                 Final Order, as applicable;
 2             (5) Payment of Fees and Expenses – authorizing the Debtors to pay all fees, costs and
                   expenses due pursuant to the DIP Credit Agreement, the other DIP Loan Documents
 3
                   and the Fee Letters;
 4             (6) Stay Relief – vacating or modifying the automatic stay imposed by section 362 of the
 5                 Bankruptcy Code to the extent necessary to implement and effectuate the terms and
                   provisions of the Interim Order or Final Order, as applicable;
 6
               (7) Schedule Final Hearing – scheduling a final hearing (the “Final Hearing”) to
 7                 consider entry of the Final Order granting the relief requested in this Motion on a final
                   basis and approving the form of notice with respect to the Final Hearing and the
 8                 transactions contemplated by the Motion; and

 9             (8) Waiver of Stay – waiving any applicable stay (including under Bankruptcy Rule 6004)
                   with respect to the effectiveness and enforceability of the Interim Order and providing
10                 for the immediate effectiveness of the Interim Order or Final Order, as applicable.
11          In support of the relief requested herein, the Debtors submit the Declarations of Jason P. Wells
12   in Support of First Day Motions and Related Relief (the “Wells Declaration”) and David Kurtz in
13   Support of Motion of Debtors for Interim and Final Orders (I) Authorizing Debtors to Obtain Senior
14   Secured, Superpriority, Postpetition Financing, (II) Granting Liens and Superpriority Claims, (III)
15   Modifying the Automatic Stay, (IV) Scheduling Final Hearing and (V) Granting Related Relief (the
16   “Kurtz Declaration”), each filed contemporaneously herewith.
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                                               42
 1                                           CERTIFICATION

 2          The undersigned counsel for the Debtor has read the Motion; to the best of my knowledge,

 3   information, and belief, formed after reasonable inquiry, the terms of the relief sought in the Motion

 4   are in conformity with the Court’s Guidelines for Cash Collateral and Financing Motions and

 5   Stipulations, except as set forth herein. I understand and have advised the Debtor that the Court may

 6   grant appropriate relief under Bankruptcy Rule 9024 if the Court determines that a material element

 7   of the Motion was not adequately disclosed in the Introductory Statement.

 8
     Dated: January 29, 2019         CRAVATH, SWAINE & MOORE LLP
 9                                   WEIL, GOTSHAL & MANGES LLP
10                                   KELLER & BENVENUTTI LLP

11                               By: /s/ Tobias S. Keller
                                     Tobias S. Keller
12

13                                   Proposed Attorneys for Debtors and Debtors in Possession
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 1                         MEMORANDUM AND POINTS OF AUTHORITIES

 2          Following a competitive marketing process, the Debtors secured a commitment from a group

 3   of lenders led by JPMorgan, Bank of America, N.A., Barclays Bank PLC, Citibank, N.A., BNP Paribas

 4   Securities Corp., Credit Suisse Loan Funding LLC, Goldman Sachs Bank USA, MUFG Union Bank,

 5   N.A. and Wells Fargo Securities, LLC to provide a $5.5 billion secured, superpriority postpetition

 6   financing facilities (the “DIP Facilities”) that will enable the Debtors to fund their operations, develop

 7   a restructuring plan, and emerge from chapter 11, while continuing to provide safe and reliable gas

 8   and electric service to their millions of customers throughout California. By this Motion, the Debtors

 9   seek approval of the DIP Facilities. The Debtors also seek authority to access $1.5 billion of the

10   proceeds of the DIP Facilities immediately to avoid irreparable harm to their businesses and to enable

11   them to continue operating through the final hearing on this Motion.

12          PG&E initiated these Chapter 11 Cases to address extraordinary financial challenges. The

13   Debtors face over $30 billion in potential exposure for the catastrophic wildfires that occurred in

14   Northern California in 2017 and 2018 (the “Wildfires”), a figure that excludes potential punitive

15   damages, fines and penalties and is expected to rise as additional lawsuits and claims are filed. That

16   potential exposure has resulted in a severe deterioration of the Debtors’ credit profile and liquidity

17   position, and PG&E has drawn most available credit, leaving, as of January 29, 2019, only $35 million

18   in aggregate undrawn commitments under their existing revolving credit facilities. In addition, recent

19   ratings downgrades and the Company’s delivery of a notice to employees pursuant to Senate Bill 901,

20   Public Utilities Code § 854.2(d) (“SB 901”), “pre-announcing” the Chapter 11 Cases, have led to

21   increased cash collateral obligations and contraction in trade terms, further deteriorating the

22   Company’s liquidity position. The Utility’s liquidity was depleted by an aggregate of approximately

23   $811 million to satisfy collateral posting needs, address accelerated payment and pre-pay demands of

24   energy commodity suppliers, and address requests from other essential suppliers for shortened

25   payment terms. As of the filing, Utility had cash on hand of approximately $240 million, net of

26   customer deposits and cash held from counterparties of approximately $250 million.

27          On the other hand, the Debtors have a strong base of largely unencumbered assets.

28   Accordingly, the Debtors have been able to attract substantial postpetition financing on favorable
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 1   terms. Prior to entering into the DIP Facilities, the Debtors and their advisors engaged in a competitive

 2   marketing process that included soliciting and receiving bids from eight large financial institutions

 3   and engaging in multiple rounds of negotiations with a select group of parties submitting the most

 4   competitive bids. In the business judgment of PG&E and its advisors, the resulting DIP Facilities

 5   represent the best credit available to the Debtors under the circumstances and the financing is in the

 6   best interests of the Debtors’ estates.

 7          PG&E and its financial advisors sized the proposed facility based on projections of PG&E’s

 8   cash flow for the anticipated duration of these Chapter 11 Cases, taking into account the minimum

 9   working capital required to operate the Debtors’ businesses. PG&E and its advisors have determined

10   that PG&E will need to access $1.5 billion of the proceeds of the DIP Facilities to enable it to operate

11   its business in an appropriate and prudent manner through the Final Hearing. (See Wells Decl. at 23.)

12          The DIP Facilities consist of three components: (a) the DIP Revolving Credit Facility with

13   aggregate commitments of $3.5 billion, including a DIP L/C Sub-Facility in an aggregate amount of

14   $1.5 billion; (b) the DIP Term Loan Facility in an aggregate principal amount of $1.5 billion; and

15   (c) the DIP Delayed Draw Term Loan Facility in an aggregate principal amount of $500 million. The

16   DIP Facilities also provide the Debtors the flexibility to obtain up to an additional $4.0 billion in

17   incremental term loan and/or revolving commitments, subject to further approval by the Court and

18   satisfaction or waiver of customary conditions.

19          The DIP Facilities are critical to ensuring that PG&E will be able to continue providing safe

20   and reliable gas and electric service to its millions of customers while it undergoes restructuring.

21   PG&E believes that it is in the best interest of all stakeholders for it to obtain the DIP Facilities. PG&E

22   therefore respectfully requests that the Court approve the DIP Facilities on an interim basis and permit

23   PG&E to use up to $1.5 billion of the proceeds of the DIP Facilities as contemplated by the DIP Credit

24   Agreement pending the Final Hearing. This proposed postpetition financing is necessary to restore

25   financial stability to PG&E as it undergoes reorganization and access to the interim amount is critical

26   to avoid immediate and irreparable harm not only to the Debtors but also to the 16 million customers

27   in the State of California who rely on the electricity and gas services provided by the Debtors.

28          Accordingly, PG&E respectfully requests that the relief requested herein be granted.
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 1   I.     JURISDICTION

 2          The Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and 1334. This

 3   is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper before the Court pursuant to

 4   28 U.S.C. §§ 1408 and 1409.

 5   II.    BACKGROUND

 6          PG&E Corp. is a holding company whose primary operating subsidiary is the Utility, a public

 7   utility operating in northern and central California. The Utility provides natural gas and utility services

 8   to approximately 16 million customers in California. As of September 30, 2018, the Debtors, on a

 9   consolidated basis, had a reported book value of assets and liabilities of approximately $71.4 billion

10   and $51.7 billion, respectively.

11          On the date hereof (the “Petition Date”), each of the Debtors commenced with this Court a

12   voluntary case under chapter 11 of the Bankruptcy Code. The Debtors continue to manage and operate

13   their businesses as debtors in possession under Bankruptcy Code sections 1107 and 1108. No trustee,

14   examiner or statutory committee of creditors has been appointed in these Chapter 11 Cases.

15          Contemporaneously herewith, the Debtors have filed a motion requesting joint administration

16   of the Chapter 11 Cases pursuant to Bankruptcy Rule 1015(b).

17          Additional information regarding PG&E’s business, capital structure, and the circumstances

18   leading to the commencement of these Chapter 11 Cases is set forth in the Wells Declaration,

19   incorporated herein by reference.

20   III.   OVERVIEW OF PROPOSED DIP FACILITIES

21          The Debtors propose to enter into the DIP Facilities to fund their operations and the

22   administration of the Debtors’ Chapter 11 Cases. The DIP Facilities preserve the Debtors’ operations

23   and provide the Debtors with sufficient liquidity to fund their businesses and the administration of

24   these cases and to pursue and consummate a successful restructuring. The DIP Facilities were

25   negotiated in good faith and at arm’s length. As discussed below and in the Kurtz Declaration, the

26   DIP Facilities are the best postpetition financing option available to the Debtors and should be

27   approved.

28
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 1            In accordance with Bankruptcy Rules 4001(c) and (d), the following table summarizes the

 2   material terms of the Interim Order and the DIP Facilities.4

 3     Material Terms              Summary                                                                  Citation

 4     Borrower                    Pacific Gas and Electric Company (the “Borrower”).                       See DIP Credit
       Fed. R. Bankr. P.                                                                                    Agreement; Interim
 5     4001(c)(1)(B)                                                                                        Order (preamble)
       Guarantors                  PG&E Corporation, together with any of its subsidiaries (other           See DIP Credit
 6     Fed. R. Bankr. P.           than the Borroers) that subsequently become party to the DIP             Agreement; Interim
       4001(c)(1)(B)               Credit Agreement (the “Guarantors” and, collectively with the            Order (preamble)
 7                                 Borrower, “PG&E”).

 8     DIP Lenders                 The several lenders from time to time party to the DIP Credit            See DIP Credit
       Fed. R. Bankr. P.           Agreement (collectively, together with the Issuing Lenders (as           Agreement; Interim
 9     4001(c)(1)(B)               defined below), the “DIP Lenders”). JPMorgan Chase Bank,                 Order (preamble)
                                   N.A., Bank of America, N.A., Barclays Bank PLC, Citibank,
                                   N.A., BNP Paribas, Credit Suisse AG, Goldman Sachs Bank
10
                                   USA, MUFG Union Bank, N.A. and Wells Fargo Bank, National
                                   Association, also serve as issuing lenders under the DIP L/C
11                                 Sub-Facility (each, an “Issuing Lender”).
12     DIP Agents                  JPMorgan Chase Bank, N.A. is the administrative agent (in such           See DIP Credit
       Fed. R. Bankr. P.           capacity, the “DIP Administrative Agent”). Citibank, N.A. is             Agreement; Interim
13     4001(c)(1)(B)               the collateral agent (in such capacity, the “DIP Collateral              Order (preamble)
                                   Agent” and, together with the DIP Administrative Agent, the
14                                 “DIP Agents”).
       Lead Arrangers and          J.P. Morgan Securities LLC, Merrill Lynch, Pierce, Fenner &              See DIP Credit
15     Bookrunners                 Smith Incorporated, Barclays Bank PLC, Citibank, N.A., BNP               Agreement
       Fed. R. Bankr. P.           Paribas Securities Corp., Credit Suisse Loan Funding LLC,
16                                 Goldman Sachs Bank USA, MUFG Union Bank, N.A. and Wells
       4001(c)(1)(B)
                                   Fargo Securities, LLC.
17
       DIP Facilities              The DIP Facilities provide for (a) a first lien superpriority            See DIP Credit
18     Fed. R. Bankr. P.           revolving credit facility in an aggregate principal amount of $3.5       Agreement (§ 2.1; 3);
       4001(c)(1)(B)               billion, which includes a $1.5 billion letter of credit sub-facility,    Interim Order
19                                 (b) first lien superpriority term loans in an aggregate principal        (preamble)
                                   amount of $1.5 billion and (c) first lien superpriority delayed
20                                 draw term loans in an aggregate principal amount of $500
                                   million.
21     Borrowing Limits            The Interim Order contemplates $1.5 billion being made                   See DIP Credit
       Fed. R. Bankr. P.           available under the DIP Revolving Credit Facility upon entry of          Agreement (§ 1.1);
22     4001(c)(1)(B)               the Interim Order (and the satisfaction of all other closing             Interim Order
                                   conditions) and the remaining $4.0 billion being made available          (preamble and
23                                 upon entry of the Final Order (and the satisfaction of all other         ¶¶ 3(d))
                                   closing conditions).
24

25        4
             As noted above, see note 1 supra, all capitalized terms listed in this table but not otherwise defined herein shall have
26   the meaning ascribed to such terms in the DIP Credit Agreement. Any summary of the terms of the Interim Order and DIP
     Facilities contained in this Motion is qualified in its entirety by reference to the provisions of the actual Interim Order and
27   DIP Credit Agreement, as applicable. To the extent the Motion and the Interim Order or DIP Credit Agreement are
     inconsistent, the Interim Order or DIP Credit Agreement, as applicable, shall control. The Debtors reserve the right to
28   supplement the statements made pursuant to Bankruptcy Rule 4001 herein.

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     Material Terms        Summary                                                                 Citation
 1
     Incremental           The DIP Credit Agreement provides that the Borrower may seek            See DIP Credit
 2   Availability          commitments from lenders to provide, and may incur,                     Agreement (§ 2.3)
     Fed. R. Bankr. P.     incremental loans and commitments secured on a pari passu
 3   4001(c)(1)(B)         basis with the DIP Loans in an aggregate principal amount of up
                           to $4.0 billion, subject to the terms and conditions and approval
 4                         of the Bankruptcy Court.
     13-Week Forecasts     PG&E will provide the DIP Agents 13-week cash flow forecasts            See DIP Credit
 5   Fed. R. Bankr. P.     on a rolling 4-week and cumulative basis (updated at the end of         Agreement (§ 6.2)
     4001(c)(1)(B)         each 4-week period) and monthly variance reports.
 6
     Use of DIP Proceeds   The DIP Facilities proceeds shall be used (i) for working capital       See DIP Credit
 7   Fed. R. Bankr. P.     and general corporate purposes and (ii) to pay fees, costs and          Agreement (§ 4.12);
     4001(c)(1)(B)         expenses incurred in connection with DIP Facilities and                 Interim Order [¶ 6]
 8                         professional and other fees and costs of administration incurred
                           in connection with the Chapter 11 Cases.
 9   Interest Rates        1.   DIP Revolving Loans – shall accrue interest at L+225 bps           See DIP Credit
     Fed. R. Bankr. P.          per annum.                                                         Agreement (§ 2.9)
10   4001(c)(1)(B)         2.   DIP Term Loans and DIP Delayed Draw Term Loans –
                                shall accrue interest at L+250 bps per annum.
11
                           3.   Default Interest – additional 2% per annum.
12
     Expenses and Fees     1.   DIP Revolving Credit Facility Unused Fees: 0.375% per              See DIP Credit
                                annum for undrawn availability under the Revolving Credit          Agreement (§§ 1.1,
13                              Facility.                                                          2.5 and 3.3)
14                         2.   DIP Delayed Draw Term Loan Facility Unused Fees: (a)
                                from (and including) the Allocation Date to (and including)
15                              the date that is 180 days after the Allocation Date, 1.25% per
                                annum, and (b) from (and including) the date that is 181 days
16                              after the Allocation Date to (and including) the last day of the
                                Delayed Draw Commitment Period, 2.50% per annum, in
                                each case for undrawn Delayed Draw Term Loans.
17
                           3.   L/C Fronting Fee: 0.125% per annum payable to the
18                              applicable Issuing Lender on the outstanding face amount of
                                each letter of credit.
19                         4.   L/C Participation Fee: 2.25% per annum on the
                                outstanding face amount of each letter of credit.
20                         5.   Extension Fee: 0.25% (12 month extension).
21                         Other fees are set forth in the fee letters to be provided under seal
                           to the Court and the U.S. Trustee.
22   Maturity Date         December 31, 2020, subject to the Borrower’s option to extend           See DIP Credit
     Fed. R. Bankr. P.     the term by additional 12 months in accordance with the terms           Agreement (§§ 1.1,
23   4001(c)(1)(B)         and conditions of the DIP Credit Agreement, including the               2.5)
                           payment of a 25 bps extension fee on the then outstanding loans
24                         and unused commitments.

25   Mandatory             Net cash proceeds from (i) non-ordinary course asset sales and          See DIP Credit
     Prepayments           condemnation events required to be used to prepay term loans,           Agreement (§ 2.6(b))
26                         subject to the ability to reinvest proceeds in the business within
                           360 days of receipt in lieu of making such prepayment, provided
27                         that (1) the first $4.0 billion of proceeds not so reinvested shall
                           not be required to be used to prepay term loans and (2)
                           thereafter, proceeds not so reinvested shall only be required to be
28
                           used to prepay term loans once such proceeds are in excess of
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                                               42
     Material Terms           Summary                                                               Citation
 1
                              $500 million or (ii) incurrence by PG&E Corp. or any of its
 2                            subsidiaries of indebtedness that is not permitted to be incurred
                              under the DIP Credit Agreement.
 3   Collateral and Priority Collateral – substantially all owned or hereafter acquired assets      See DIP Credit
     Fed. R. Bankr. P.       and property of the Borrower and Guarantors (the “Collateral”).        Agreement ((§ 2.19);
 4   4001(c)(1)(B)(i)                                                                               Interim Order, ¶ 3, 4
                             Priority - the Collateral Agent shall be granted the following on
 5                           the Collateral, for the benefit of the Lenders:
                               a) First Priority Liens - a perfected first priority security
 6                                interest and lien on the Collateral to the extent such
                                  Collateral is not subject to valid, perfected and non-
 7                                avoidable liens (“First Priority Liens”), subject to the
                                  Carve-Out and any Senior Permitted Liens;
 8                             b) Junior Liens – a junior perfected security interest and lien
                                  on the Collateral to the extent such Collateral is subject to
 9                                valid, perfected and non-avoidable liens in favor of third
                                  parties that were in existence on the the Petition Date, or to
10                                valid and unavoidable liens in favor of third parties that were
                                  in existence on the Petition Date that were perfected
11                                subsequent to the Petition Date (“Junior Liens”, collectively
                                  with the First Priority Liens, the “DIP Liens”), subject to
12                                such valid liens, the Carve-Out and any Senior Permitted
                                  Liens; and
13                             d) Superpriority Expense Claims – superpriority
                                  administrative expense claims in the Chapter 11 Cases of the
14                                Debtors (“Superpriority Expense Claims”), subject to the
                                  Carve-Out.
15
     Conditions to            Material closing conditions include:                                  See DIP Credit
     Closing                                                                                        Agreement (§ 5.1)
16                             •   Execution of DIP Credit Agreement
     Fed. R. Bankr. P.
     4001(c)(1)(B)             •   The payment of fees and expenses set forth in the DIP Loan
17                                 Documents
18                             •   The accuracy of all representations and warranties and the
                                   absence of a default or event of default
19                             •   Receipt of a valid and perfected security interest in the
                                   Collateral
20
                               •   Receipt of a 13-week cash flow forecast and projections
                                   through December 31, 2020
21
                               •   Entry of Interim Order authorizing DIP Loans no later than
22                                 five business days following the Petition Date
                               •   Entry of all other first day orders
23
                               •   Absence of proceedings pending or, to the knowledge of the
24                                 Borrower, threatened that is not publicly disclosed, that is
                                   not stayed and that could reasonably be expected to result in
25                                 a material adverse change
     Events of Default        Material events of default include:                                   See DIP Credit
26                                                                                                  Agreement (§ 8)
     Fed. R. Bankr. P.         •   Payment default
     4001(c)(1)(B)
27                             •   Inaccuracy of representations and warranties when made or
                                   deemed made
28
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                                               42
     Material Terms       Summary                                                             Citation
 1
                          •   Breach of covenant
 2                        •   Cross-default to postpetition or unstayed indebtedness in
                              excess of $200M
 3
                          •   Certain ERISA events rising to a material adverse effect
 4                        •   Entry of unstayed judgments in excess of $200M
                          •   Invalidity of loan documents, security interests or
 5                            guarantees
 6                        •   Dismissal of cases or conversion thereof to cases under
                              chapter 7
 7                        •   Appointment of a trustee, responsible officer or an examiner
                              having expanded powers under Bankruptcy Code Section
 8                            1104

 9                        •   Entry of an order:
                              •   Staying, reversing, vacating, modifying or amending
10                                the interim or final order in a manner adverse to the
                                  lenders
11                            •   Granting relief from any stay allowing third party to
                                  proceed to foreclosure against assets in excess of
12                                $250M

13                            •   Authorizing liens or administrative expense claims
                                  having a priority senior to or pari passu with those in
14                                favor of the DIP Obligations
                              •   Impairing any material rights and remedies of the
15                                lenders, impairing the liens securing the DIP
                                  Obligations or impairing the DIP Obligations
16                                themselves
                          •   Any debtor taking action to (or failing to take action to
17                            oppose any action by a third party to) impair material rights
                              and remedies of the lenders or impair the liens securing the
18                            DIP Obligations or impairing the DIP Obligations
                              themselves
19
                          •   Final Order not being entered prior to April 15, 2019
20                        •   Material noncompliance with the terms of the Interim Order
                              or the Final Order
21                        •   Action by the Debtors or their subsidiaries against the
                              lenders regarding the DIP Loan Documents
22
                          •   Filing by the Debtors of, or the entry of an order approving,
23                            a reorganization plan or a sale of substantially all assets
                              under Section 363 that does not provide for the repayment
24                            of the DIP Loans
                          •   Change of control
25                        •   Any governmental authority shall prevent the Debtors from
                              conducting any material part of their business, with such
26                            prevention rising to a material adverse effect
27                        •   Loss of any license, permit, lease or agreement necessary
                              and material to Debtors’ business, or the cessation of any
28
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     Material Terms          Summary                                                               Citation
 1
                                  material part of the Debtors’ business for a material period
 2                                of time
                             •    A material portion of the DIP Collateral is taken through
 3                                condemnation or materially damaged and the Debtors’
                                  receive materially less than fair market value in
 4                                consideration or insurance proceeds

 5   Milestones              No milestones related to assets sales or a plan of reorganization.    N/A
     Fed. R. Bankr. P.
     4001(c)(1)(B)(vi)
 6
     Waiver or               The automatic stay shall be modified as necessary to permit the       See Interim Order
 7   Modification of the     granting of DIP Liens and to incur all DIP Obligations under the      ¶¶ 6, 14.
     Automatic Stay          DIP Loan Documents and to authorize the DIP Agents to retain
 8   Fed. R. Bankr. P.       and apply payments and to exercise the rights and remedies set
     4001(c)(1)(B)(iv)       forth in the Interim Order or Final Order, as applicable.
 9
     Waiver or               The Interim Order is sufficient and conclusive evidence of the        See Interim Order ¶¶
     Modification of         validity, perfection and priority of the DIP Liens without the        3, 4
10
     Applicability of Non-   necessity of filing or recording any financing statement, deed of
     Bankruptcy Law          trust, mortgage, or other instrument or document which may
11   Relating to the         otherwise be required under the law of any jurisdiction or the
     Perfection or           taking of any other action to validate or perfect the DIP Liens or
12   Enforcement of a Lien   to entitle the DIP Liens to the priorities granted in the Interim
     Fed. R. Bankr. P.       Order or the Final Order, as applicable.
13   4001(c)(1)(B)(vii)

14   Carve-Out               The DIP Liens and the DIP Superpriority Claim shall be subject        See Interim Order
     Fed. R. Bankr. P.       and subordinate to a carve-out (the “Carve-Out”), which shall         ¶ 10
15   4001(c)(1)(B)(i)        comprise the following: (i) all fees required to be paid to the
                             Clerk of the Court and to the Office of the U.S. Trustee pursuant
16                           to 28 U.S.C. § 1930(a) plus interest at the statutory rate (without
                             regard to the notice set forth in (iii) below); (ii) all reasonable
17                           and documented fees and expenses, in an aggregate amount not
                             to exceed $100,000, incurred by a trustee under section 726(b) of
                             the Bankruptcy Code (without regard to the notice set forth in
18                           (iii) below); and (iii) all accrued and unpaid fees, costs and
                             expenses (the “Estate Professional Fees”) incurred by persons
19                           or firms retained by the Debtors (including for the avoidance of
                             doubt, Cravath, Swaine & Moore LLP and Weil Gotshal &
20                           Manges LLP) or any Committee, if any, pursuant to
                             sections 327, 328, 330, 363 or 1103 of the Bankruptcy Code
21                           (collectively, “Estate Professionals”) (x) at any time before or
                             on the day of delivery by the DIP Agents of a Carve-Out Trigger
22                           Notice (defined below), whether allowed by the Court prior to or
                             after delivery of a Carve-Out Trigger Notice, and (y) after the
23                           date (the “Trigger Date”) on which the DIP Agents provide
                             written notice stating that such notice is a “Carve-Out Trigger
24                           Notice” (the “Carve-Out Trigger Notice”) that a DIP
                             Termination Event has occurred and has triggered the Carve-Out,
25                           to the extent allowed at any time, the payment of any Estate
                             Professional Fees of Estate Professionals in an amount not
26                           exceeding $25,000,000 in the aggregate incurred after the
                             Trigger Date (the “Post-Carve-Out Trigger Notice Cap”).
27   Liens on Avoidance      Collateral will include proceeds of causes of action arising under    See DIP Credit
     Actions                 Chapter 5 of the Bankruptcy Code.                                     Agreement (§ 11.1),
28                                                                                                 Interim Order ¶ 5
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                                               42
      Material Terms             Summary                                                                 Citation
 1
      Fed. R. Bankr. P.
 2    4001(c)(1)(B)(xi)
      Section 506(c) Waiver      Upon entry of the Final Order, no costs or expenses which have          See Interim Order
 3    Fed. R. Bankr. P.          been or may be incurred in the Cases at any time shall be               ¶ 23
      4001(c)(1)(B)(x)           charged against the DIP Administrative Agent, the DIP Lenders,
 4                               the DIP Obligations or the DIP Collateral.

 5           Certain of the terms of the DIP Facilities are terms that are identified in the Court’s Guidelines
 6   for Cash Collateral and Financing Stipulations (the “Guidelines”) as provisions that the Court will
 7   not ordinarily approve. For the reasons set forth herein, the Debtors submit that such terms are
 8   necessary and appropriate in the circumstances of this case because the Lead Arrangers insisted on
 9   these provisions in return for extending $5.5 billion of credit on favorable pricing and other terms.
10
             Guidelines Provision                                                  DIP Facilities Description
11
           Cross-collateralization clauses, i.e., clauses that secure   None.
12         prepetition debt by postpetition assets in which the secured
       1   party would not otherwise have a security interest by virtue
13         of its prepetition security agreement or applicable law. See
           Bankruptcy Code § 552.
14
           “Roll-ups,” i.e., such as provisions deeming pre-petition       None.
           debt to be post-petition debt or using post-petition loans
15         from a pre-petition secured creditor to pay part or all of that
       2   secured creditor’s pre-petition debt, other than as provided
16         in Bankruptcy Code § 552(b), which deals with security
           interests in proceeds and profits.
17         Provisions or findings of fact that bind the estate or all      None.
       3   parties-in-interest with respect to the validity, perfection or
18         amount of the prepetition secured party’s lien or debt.
           Provisions or findings of fact that bind the estate or all      None.
19         parties-in-interest with respect to the relative priorities of
           the secured party’s lien and liens held by persons who are
20     4   not party to the stipulation (This would include, for
           example, an order approving a stipulation providing that the
21         secured party’s lien is a “first priority” lien).
           Waivers of, or grants of lien on, rights under Bankruptcy       Paragraph 23 of the Interim Order provides that,
22         Code §506(c), unless the waiver or grant is effective only upon entry of the Final Order, PG&E will waive its
           during the period in which the debtor is authorized to use right to surcharge the DIP Secured Parties for
23     5   cash collateral or borrow funds. (Otherwise a future trustee administrative costs or expenses.
           might be faced with a duty to care for and preserve
24         collateral in the trustee’s possession and no financial means
           for discharging that duty).
25         Provisions that operate, as a practical matter, to divest the Section 8(n) of the DIP Credit Agreement provides
           debtor in possession or trustee of any discretion in the        that it is an “Event of Default” under the DIP Credit
26         formulation of a plan or administration of the estate or limit Agreement if Debtors file a Chapter 11 plan other
       6   access to the court to seek any relief under other applicable than an “Acceptable Plan”, defined in part as a
27         provisions of law.                                              Chapter 11 plan that does not provide for the
                                                                           indefeasible payment in full in cash of the DIP
                                                                           Obligations.
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 1            Guidelines Provision                                                 DIP Facilities Description
           Releases of, or limitations on, liability for the creditor’s   None.
 2     7   alleged prepetition torts or breaches of contract.
           Waivers of, or liens on any of the estate’s rights arising     Section 11.1 of the DIP Credit Agreement and
 3         under Bankruptcy Code §§ 544, 545, 547, 548, 549, 553,         paragraph 5 of the Interim Order provide for the
           723(a), or 724(a), or the proceeds of any such rights.         grant, following the entry of the Final Order, to the
 4     8                                                                  DIP Secured Parties of DIP Liens on all proceeds of
                                                                          claims or causes of action arising under Chapter 5 of
 5                                                                        the Bankruptcy Code.

 6         Automatic relief from the automatic stay upon default,         Paragraph 18 of the Interim Order provides that the
           conversion to Chapter 7, or appointment of a trustee.          DIP Secured Parties are entitled to automatic relief
 7                                                                        from the automatic stay after the occurrence of a DIP
                                                                          Termination Event and a seven day Remedies Notice
 8     9                                                                  Period. During the Remedies Notice Period, the
                                                                          Debtors and other parties in interest may challenge
 9                                                                        such Dip Termination Event.

10         Waivers and modifications of the procedural requirements None.
      10   for foreclosure mandated under applicable non-bankruptcy
11         law.
           Waivers or limitations, effective on default or expiration, of None.
12         the debtor in possession’s or trustee’s right to move for a
      11   court order pursuant to Bankruptcy Code § 363(c)(2)(B)
           authorizing the use of cash collateral in the absence of the
13
           secured party’s consent.
           Findings of fact on matters extraneous to the approval         None.
14         process. (For example, in connection with an application to
           borrow on a secured basis, a finding that the debtor cannot
15         obtain unsecured credit would be acceptable if supported by
      12
           competent evidence, whereas a “finding” that the lender
16         acted in good faith in declaring the prepetition loan in
           default would not be acceptable).
17         Provisions providing unreasonable treatment with respect to None.
           fees or professionals retained by a creditors’ committee
18    13   compared to any carve-outs provided for professionals
           retained by the debtor in possession or trustee.
19         Provisions that provide an inadequate carve-out for a          Paragraph 10 of the Interim Order provides for a
      14   subsequently appointed trustee in the case, whether before carve-out of $100,000 for a subsequently appointed
20         or after conversion.                                           trustee.

21   IV.     PG&E’S PREPETITION FINANCING

22           PG&E’s prepetition financing consists entirely of unsecured debt. (See Wells Decl. at 9-11.)

23   As described in more detail below, PG&E’s unsecured debt (not including any potential liabilities

24   associated with the Wildfires) consists of revolving credit facilities, term loans, senior notes, pollution

25   control bonds, and trade payables.

26           A.       Revolving Credit Facilities

27           Each of PG&E Corp. and the Utility is party to a separate revolving credit agreement with

28   Bank of America, N.A., and Citibank, N.A., respectively, as administrative agents (collectively the
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 1   “Revolving Credit Facilities”). The Revolving Credit Facilities permit borrowing by PG&E Corp.

 2   up to aggregate principal amount of $300 million and by the Utility up to an aggregate principal

 3   amount of $3 billion. (Wells Decl. at 9-10.) On November 13, 2018, PG&E Corp. and the Utility

 4   drew all amounts available under their respective Revolving Credit Facilities to assure access to

 5   additional liquidity. (Id. at 18) As of January 29, 2019, PG&E Corp. and the Utility collectively had

 6   only about $35 million of aggregate undrawn commitments under the two Revolving Credit Facilities.

 7          All obligations under the Revolving Credit Facilities are unsecured.          In addition, the

 8   obligations under the Utility’s Revolving Credit Facility are not guaranteed by PG&E Corp. and the

 9   obligations under PG&E Corp.’s Revolving Credit Facility are not guaranteed by the Utility. (Id. at

10   10.)

11          B.     Term Loans

12          The Debtors are also parties to unsecured term loans. PG&E Corp. has an outstanding

13   unsecured term loan in the principal amount of $350 million that matures on April 16, 2020. The

14   Utility has an outstanding unsecured term loan in the principal amount of $250 million that matures

15   on February 22, 2019. (Id.)

16          C.     Senior Notes

17          The Utility has outstanding various issues of senior notes (the “Senior Notes”) with varying

18   interest rates and maturities ranging from 2020 to 2047, in the aggregate outstanding principal amount

19   of approximately $17.5 billion. The Senior Notes are unsecured obligations of the Utility and are not

20   guaranteed by PG&E Corp. (Id.)

21          D.     Pollution Control Bonds

22          The Utility is also obligated with respect to government-issued pollution control bonds.

23   Specifically, the California Pollution Control Financing Authority and the California Infrastructure

24   and Economic Development Bank have issued various series of fixed-rate and multi-modal tax-exempt

25   pollution control bonds for the benefit of the Utility in the aggregate outstanding principal amount of

26   approximately $860 million. Approximately $760 million in principal amount of such pollution

27   control bonds are backed by letters of credit. The obligations under the reimbursement agreements

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 1   entered into by the Utility in connection with the issuance of the letters of credit are unsecured

 2   obligations of the Utility and are not guaranteed by PG&E Corp. (Id. at 11.)

 3           E.        Trade Payables

 4           As of the Petition Date, PG&E’s outstanding trade payables totaled approximately $2.1 billion.

 5   V.      BACKGROUND TO THE PROPOSED POSTPETITION FINANCING

 6           A.        The Debtors’ Liquidity

 7           As described in the Wells Declaration, PG&E’s potential liability with respect to the Wildfires

 8   has resulted in a severe deterioration of the Debtors’ credit profile and liquidity position. (See Wells

 9   Decl. at 11-16 (describing the Wildfires and potential liabilities), id. 18-19 (describing the

10   deterioration of the Debtors’ credit profile and liquidity position.) During 2018 and 2019, the Debtors’

11   credit ratings were subject to multiple downgrades by the credit agencies, and are currently related

12   below “investment grade” by all three major rating agencies. (Id. at 18-19.) On November 13, 2018,

13   PG&E Corp. and the Utility drew all amounts available under their respective Revolving Credit

14   Facilities to ensure access to additional liquidity. (Id. at 18.)

15           In recent weeks, there has been significant further deterioration of the Debtors’ liquidity

16   position. On January 7 and 10, 2019, the Debtors’ credit rating was downgraded further, triggering a

17   requirement that PG&E post substantial cash collateral in connection with its power purchase and

18   other supply arrangements. (Id. at 18.) Other requests for cash collateral have been made by third

19   parties, including the California State Division of Workers’ Compensation, and in connection with

20   State environmental remediation projects. (Id.) The Debtors’ credit profile has further deteriorated

21   due to potential impending defaults under the agreements governing PG&E’s existing funded debt and

22   a significant contraction in customary trade terms. (Id.) In addition, recent developments in ongoing

23   government investigations and enforcement actions also have negatively affected PG&E’s liquidity

24   position. (Id.)

25           To preserve liquidity, on January 15, 2019, PG&E did not make the interest payment of

26   approximately $21.6 million with respect to its outstanding 5.40% of Senior Notes due January 15,

27   2040. (Id. at 19.)

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 1          Such deterioration was further exacerbated by the Company’s notice to employees on January

 2   14, pursuant to SB 901, that PG&E Corp. and the Utility intended to make a voluntary filing under

 3   Chapter 11 on or about the Petition Date. Such intention was announced publicly by PG&E Corp. and

 4   the Utility on a Current Report on Form 8-K on the same day. The legal obligation to “pre-announce”

 5   its bankruptcy filing led to a further contraction of trade terms, placing additional pressure on the

 6   Company and its liquidity position. (Id. at 21.)

 7          As detailed in the Wells Declaration, the Debtors’ liquidity position has deteriorated to the

 8   point that, absent significant additional financing, the Debtors will not be able to continue to operate.

 9   As of the Petition Date, PG&E Corp. had approximately $370 million of cash on hand, which the

10   Debtors believe is sufficient for PG&E Corp. to meet its obligations during the course of the Chapter

11   11 Cases. As reported in the January 14, 2018 Form 8-K filed with the Securities and Exchange

12   Commission, the Utility had approximately $1.1 billion in cash on hand as of that date. However,

13   starting in early January 2019, as a consequence of supplier uncertainty, media speculation, credit

14   downgrades, and reactions to the SB-901 15-day notice, the Utility’s liquidity was depleted by an

15   aggregate of approximately $811 million to satisfy collateral posting needs, address accelerated

16   payment and pre-pay demands of energy commodity suppliers, and address requests from other

17   essential suppliers for shortened payment terms. As of the filing, the Utility had cash on hand of

18   approximately $240 million, net of customer deposits and cash held from counterparties of

19   approximately $250 million. PG&E Corp. had approximately $370 million cash on hand as of the

20   Petition Date. (See id. at 22-23.)

21          In light of its deteriorating liquidity position, PG&E and its advisors explored the Company’s

22   options for obtaining new financing. PG&E determined that, although it could access a significant

23   amount of capital outside of chapter 11, it could only access secured indebtedness or more esoteric

24   forms of alternative capital that would be relatively dilutive or expensive to temporarily extend its

25   liquidity runway. (Id. at 5.)        PG&E concluded that that alternative was not a solution to the

26   fundamental issues facing PG&E, nor was it in the best interest of PG&E’s stakeholders, including

27   wildfire claimants (who could face subordination of their claims in those circumstances), and was not

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 1   a feasible way to address and resolve the thousands of wildfire claims and to assure PG&E would have

 2   the liquidity necessary to sustain ongoing operations. (Id.)

 3          Additionally, during this time, PG&E was in regular communication with government

 4   officials, regulators and representatives, seeking a potential legislative or regulatory solutions to its

 5   financial and liquidity situation. (See id. at 5-6.) SB 901, which was enacted by the California

 6   legislature in September 2018, addressed a portion of the liabilities PG&E faced in connection with

 7   the 2017 Wildfires. That legislation, however, expressly excluded any similar relief for wildfires

 8   occurring in 2018. (Id; see also id. at 17.) Since the 2018 wildfire (the “Camp Fire”) and in view of

 9   PG&E’s potential liabilities relating to the Camp Fire, PG&E has been in regular contact with the

10   California Public Utilities Commission (“CPUC”) and representatives of the Governor’s office, and

11   has fully apprised those parties as to PG&E’s financial condition and its projected liquidity profile.

12   As of the date hereof, there is no prospect of legislation being enacted on a timely basis, if at all, to

13   implement the extraordinary measures necessary to stabilize PG&E’s financial condition and avoid

14   the necessity of seeking relief under chapter 11. (See id. at 6.)

15          B.      PG&E’s Marketing Process to Obtain the DIP Facilities

16          Leading up to the Petition Date, the Debtors, with the assistance of experienced financial

17   advisors at Lazard Frères & Co. LLC (“Lazard”), engaged in a thorough and competitive marketing

18   process to obtain postpetition DIP financing.

19          In consultation with their financial advisors, the Debtors sized the $5.5 billion DIP Facilities

20   by assessing PG&E’s projected cash needs for the anticipated duration of the chapter 11 proceedings.

21   (See Wells Decl. at 21-22; Kurtz Decl. ¶ 9.) The Debtors project capital spending to exceed cash flow

22   from operations by approximately $1.6 billion in each of 2019 and 2020 largely driven by projected

23   capital spending of $6.6 billion in 2019 and $6.9 billion in 2020, as well as other investing activities

24   of more than $300 million forecasted for 2019 and more than $125 million for 2020. This forecasted

25   level of capital spending is in-line with historical capital spending of $5.8 billion in 2017 and $6.6

26   billion in 2018. Due to the regulated nature of the Utility’s businesses, only a small fraction of the

27   capital spending program is discretionary. Cash flow from operations is forecasted to be $5.3 billion

28   in 2019 and $5.5 billion in 2020. This creates an aggregate operating cash flow deficit after capital
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 1   expenditures of nearly $3.2 billion over the two-year forecast period which PG&E must finance

 2   externally. (Wells Decl. at 21-22.)

 3          In addition to the combined operating deficit of $3.2 billion mentioned above, the Debtors need

 4   additional funding to service the DIP Financing and pay related costs. Furthermore, the Debtors’

 5   advisors have projected that the Debtors will need to post additional collateral in 2019 of

 6   approximately $500 million to meet, among other things, environmental and other state requirements.

 7   The DIP Financing sizing also incorporates projected professional fees for estate-paid professionals

 8   to be paid during the pendency of the Chapter 11 Cases. (Id. at 22.)

 9          PG&E’s primary strategic considerations when marketing the financing opportunity were the

10   identification of an economical and reliable source of financing that would (i) support PG&E’s need

11   for a sizeable loan to provide for general working capital, (ii) provide substantial revolving credit

12   capacity (including a letter of credit facility), and (iii) provide the Company with operational and

13   financial flexibility and time to pursue a holistic restructuring strategy to address wildfire claim

14   resolution and other critical imperatives, and (iv) to secure committed financing at the most favorable

15   terms to limit the debt service cost during these Cases. (Kurtz Decl. ¶ 8.) Given the size of the required

16   financing, the Company’s cash flow profile, desired flexibility to use letters of credit to secure

17   significant collateral posting requirements, and to minimize the debt service cost of the overall

18   financing, the Debtors sought to obtain DIP financing comprised of a $3.5 billion revolving credit

19   facility and $2 billion of term loan debt. (Id. ¶ 10.)

20          PG&E’s marketing process involved multiple rounds of bidding and was conducted at arm’s

21   length and in good faith. With the assistance of Lazard, PG&E initially contacted eight major money

22   center banks (together, the “Potential Lenders”). Each of the eight Potential Lenders signed a non-

23   disclosure agreement (“NDA”). (Id. ¶ 11.)

24          The Debtors and Lazard met with each of the Potential Lenders on January 9 and 10, 2019, in

25   individual meetings and presented them with information to enable them to fully evaluate the DIP

26   financing request, as well as an initial DIP financing term sheet describing the framework for the

27   potential financing. (See id. ¶ 12.) Subsequently, Lazard provided the Potential Lenders with access

28   to the Debtors’ virtual data room for lender diligence, and the Debtors and their advisors engaged in
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 1   multiple due diligence conversations with the Potential Lenders. (Id. ¶ 13.) Between January 10 and

 2   12, 2019, each of the eight Potential Lenders submitted initial, non-binding term sheets, and all but

 3   one provided a “highly confident letter” in response to the Company’s request indicating the Potential

 4   Lender’s belief that the Company could successfully obtain $5.5 billion of DIP financing. (Id.)

 5          The Debtors and Lazard evaluated the initial proposals side-by-side to compare terms and

 6   conditions. In evaluating the proposals, the Debtors and Lazard considered each Potential Lender’s

 7   indicative proposed economics, ability to fully commit and underwrite the entire facility if needed,

 8   financing structure, perceived deal risk, market flex and proposed covenants, among other factors.

 9   (Id. ¶ 14.) Of the eight proposals, four offered a full 100% underwriting and four offered to provide

10   only a portion of the requested DIP facilities. (Id.)

11          Following this review, Lazard circulated a second round counter proposal to Potential Lenders

12   on January 13, 2019, and explained that to be considered in Round 2 the Potential Lender would need

13   to offer a fully 100% underwritten deal. Six of the Potential Lenders submitted revised proposals on

14   Monday, January 14, 2019. The Debtors, with assistance from Lazard, then undertook similar

15   quantitative and qualitative analyses to compare the updated proposals. (Id. ¶ 15.)

16          Based on that analysis, the Debtors determined that the revised proposal submitted by

17   JPMorgan Chase Bank, N.A. (“J.P. Morgan”) met each of their requirements and was the best

18   available financing proposal. J.P. Morgan’s proposal was in line with the most favorable economic

19   terms PG&E had received, and it also offered the least restrictive covenants and the largest revolver

20   hold position of all proposals received. (Id. ¶ 16.)

21          Accordingly, on January 15, 2019, PG&E appointed JPMorgan as the lead arranger for the DIP

22   financing. Based on other strong and competitive offers, the Debtors chose Merrill Lynch, Pierce,

23   Fenner & Smith Incorporated, Barclays Bank PLC, Citibank, N.A. (together with J.P. Morgan, the

24   “DIP Underwriters”), to co-arrange and underwrite the DIP facilities, on the condition that all of

25   these underwriters likewise agreed to the same level of revolver commitment hold position as J.P.

26   Morgan and otherwise agreed to the other terms and conditions of the final J.P. Morgan proposal. (Id.

27   ¶ 17.) Between January 15 and January 21, 2019, the Debtors, with the assistance of Lazard, counsel

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 1   and other advisors, negotiated the terms of the DIP Facilities’ commitment papers. The negotiations

 2   were conducted at arm’s length and were extensive and vigorous. (Id.)

 3            During the marketing process and in the weeks leading up to the Petition Date, the Debtors

 4   received several additional inquiries from various lending sources.                        The Debtors and Lazard

 5   investigated those inquiries on behalf of the Debtors and explored whether such institutions would be

 6   willing to provide financing on more competitive terms than those being negotiated with the DIP

 7   Underwriters. Only one alternative lender offered to provide a term loan facility on competitive terms,

 8   but it was unable to provide revolving credit in a similar structure and on terms similar to the DIP

 9   Underwriters’ proposal. In response to this specific inquiry, the Debtors and Lazard further negotiated

10   with J.P. Morgan and the other DIP Underwriters and were able to further improve economic terms

11   and reduce market flex. (Id. ¶ 18.)

12            On January 21, 2019, the Debtors and the DIP Underwriters entered into a commitment letter

13   and DIP Term Sheet for the $5.5 billion DIP Facilities. (Id. ¶ 19.)

14            C.      The DIP Facilities

15            Summaries of the material terms of the DIP Facilities are set forth above and in the

16   accompanying Kurtz declaration. (See id. ¶ 20.) The Debtors may use the DIP Facilities for working

17   capital and general corporate purposes, and to pay fees, costs5 and expenses incurred in connection

18   with the administration of these chapter 11 cases. (Id. ¶ 21.)

19            As a result of the marketing process described above, the Debtors have obtained DIP Financing

20   on favorable terms. The DIP Facilities also provide flexibility to PG&E to use $4 billion of asset sale

21   and condemnation proceeds for general corporate purposes; for any proceeds above the $4 billion

22   carve-out, the Company maintains a reinvestment right of 180 days, subject to a further 180 day

23   extension, thereby providing significant flexibility to PG&E to finance its business. Furthermore, the

24   DIP Facilities are structured with an extension option for a third year in order to accommodate the

25   Company in the event that the Chapter 11 Cases extend beyond the original December 2020 maturity

26        5
            Such costs may include intervenor compensation awards pursuant to California Public Utilities Code §§ 1801-1812,
27   which require Commission jurisdictional utilities to pay the reasonable costs of an intervenor's participation if that party
     makes a substantial contribution to the Commission's proceedings, and which may be recovered in the Debtor’s utility
28   rates.

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 1   date of the financing. The DIP Facilities additionally provide the Company with permission to raise

 2   up to $4 billion of incremental, pari passu DIP financing to fund a third year of the Chapter 11 Cases

 3   or address other financing needs that result while in Chapter 11. The DIP Facilities do not subject

 4   PG&E to any milestones related to a sale or plan process, leaving the Debtors with adequate time and

 5   flexibility to develop and implement a restructuring that is in the best interests of their estates. Further,

 6   the DIP Facilities contain no budget variance or other financial covenants. (Id. ¶¶ 23-24.) This

 7   flexibility is especially important for PG&E, as the unpredictability of its business (including

 8   fluctuating commodity prices and demand, driven by weather and other difficult to predict factors)

 9   leads to significant variability in its cash flow and working capital needs. In sum, given the DIP

10   Facilities’ competitive economic terms and flexible structure, the DIP Facilities are the best financing

11   available to PG&E. (See id. ¶ 30.)

12           D.     PG&E’s Immediate Need for Postpetition Financing

13           In addition to determining the Debtors’ overall financing needs for the anticipated duration of

14   the Chapter 11 Cases, PG&E and its financial advisors assessed how much liquidity PG&E would

15   require in the Interim Period between the Petition Date and the final hearing on this Motion, which

16   under the DIP Credit Agreement could occur as late as April 15, 2019. PG&E and its advisors

17   determined, based on thirteen-week cash flow projections, that PG&E would need to draw $1.5 billion

18   in financing to enable it to continue to operate prudently during this Interim Period. (See Wells Decl.

19   at 23.) For that reason, the Debtors are requesting entry of the Interim Order, authorizing PG&E to

20   obtain credit immediately in the amount of $1.5 billion, on the terms of the DIP Loan Documents, on

21   an interim basis.

22           The Debtors would experience irreparable harm if the Interim Order approving the DIP Motion

23   is not entered. Access to immediate financing is essential to ensure that the Utility has sufficient

24   working capital to continue operating. Absent authority to borrow under the DIP Facilities on an

25   emergency basis, the Debtors will not be able to continue operations on a normal basis, which could

26   potentially create public safety issues due to the inability to provide services to their customers and

27   maintain safe operations, resulting in immediate and irreparable harm to the Debtors and their estates,

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 1   creditors (including wildfire claimants), employees, customers, and PG&E Corp.’s shareholders, and

 2   jeopardize their ability to successfully administer these Chapter 11 Cases. (Id. at 22.)

 3           The Debtors enter chapter 11 with only $860 million of aggregate cash. Approximately $250

 4   million of that cash is comprised of customer deposits that the Debtors believe should not be used to

 5   fund their operations and working capital needs. Approximately $370 million is held by PG&E Corp.

 6   for its own uses. As a result, the Utility, which is the operating entity of the Debtors, has access to

 7   only $240 million of cash as of the Petition Date, which is insufficient to meet operating expenses and

 8   address short-term working capital needs and to have sufficient additional liquidity to address both

 9   ordinary course and non-ordinary course variability in the business. (Id. at 22-23.) The Utility requires

10   a minimum working capital reserve of $450 million to cover the intra month timing of energy supply

11   costs. (Id. at 23.)

12           The Debtors evaluated, with the assistance of their advisors, the amount of funding that they

13   will require during the Interim Period. The amount was derived from a cashflow projection developed

14   from an analysis of the Debtors’ receipts and disbursements (the “13 Week Budget,” attached to the

15   Motion as Exhibit C). Based on that projection, the Debtors believe they need access to $1.5 billion

16   of post-petition DIP financing during the course of the Interim Period to operate their businesses in an

17   appropriate and prudent manner. (Id. at 23.)

18   VI.     BASIS FOR RELIEF REQUESTED

19           A.      The Court Should Approve the DIP Facilities Under Section 364(c).

20           PG&E requests authorization under section 364(c) of the Bankruptcy Code to grant the DIP

21   Lenders three types of protections:      (a) superpriority administrative claims pursuant to section

22   364(c)(1) (See DIP Credit Agreement § 2.19(a)); (b) senior liens on PG&E’s unencumbered assets

23   pursuant to section 364(c)(2) (id. § 2.19(b)); and (c) junior liens on PG&Es assets that are subject to a

24   lien pursuant to section 364(c)(3) (id. § 2.19(c)). PG&E has satisfied the requirements to obtain credit

25   on these terms.

26           Under section 364(c), a debtor may grant superpriority administrative claims and incur secured

27   debt if the court determines that the debtor was “unable to obtain unsecured credit allowable under

28   section 503(b)(1) . . . as an administrative expense”. 11 U.S.C. § 364(c). Courts evaluating requests
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 1   for financing under section 364(c) consider whether certain factors are met, including that: (1) the

 2   proposed financing is an exercise of the debtor’s sound and reasonable business judgment; (2) the

 3   financing agreement was negotiated in good faith and at arm’s length; (3) no alternative financing is

 4   available on any other basis; (4) the terms of the transaction are fair, reasonable, and adequate, given

 5   the circumstances of the borrower and the proposed lender; (5) the financing is necessary, essential,

 6   and appropriate for the continued operation of the Debtors’ businesses and the preservation of their

 7   estates; and (6) the financing is in the best interests of the estate and its creditors. See In re Gardens

 8   Reg’l Hosp., No. 2:16-BK-17463-ER, 2017 WL 7101146, at *4 (Bankr. C.D. Cal. July 28, 2017)

 9   (approving postpetition financing under § 364(c) based on these factors); In re Sterling Mining Co.,

10   No. 09-20178-TLM, 2009 WL 2514167, at *3 (Bankr. D. Idaho Aug. 14, 2009); see also In re

11   Farmland Indus., Inc., 294 B.R. 855, 879-81 (Bankr. W.D. Mo. 2003) (discussing factors applied by

12   bankruptcy courts across jurisdictions). Each of these factors is satisfied here.

13                    1.      The DIP Facilities Reflect PG&E’s Sound Business Judgment.
14          In evaluating proposed DIP financing under Section 364(c), courts generally defer to the

15   business judgment of the debtor. See In re Republic Airways Holdings Inc., No. 16-10429(SHL), 2016

16   WL 2616717, at *10–11 (Bankr. S.D.N.Y. May 4, 2016); In re Ames Dep’t Stores, 115 B.R. 34, 40

17   (Bankr. S.D.N.Y. 1990). Courts presume that debtors make financing decisions “on an informed basis,

18   in good faith, and in the honest belief that the action taken was in the best interests of the company.”

19   In re Los Angeles Dodgers LLC, 457 B.R. 308, 313 (Bankr. D. Del. 2011); see also In re Simasko

20   Prod. Co., 47 B.R. 444, 449 (D. Colo. 1985) (“The discretion to act with regard to business planning

21   activities is at the heart of the debtor’s power.”) Courts will not “second-guess a business decision,

22   so long as corporate management exercised a minimum level of care in arriving of the decision”. In

23   re Los Angeles Dodgers LLC, 457 B.R. at 313; see also In re Simasko Prod. Co., 47 B.R. at 449

24   (“business judgments should be left to the board room and not to this Court”).

25          Here, PG&E has exercised the utmost level of care in selecting and entering into the DIP

26   Facilities. As explained in the Wells Declaration and the Kurtz Declaration, the PG&E Board and

27   management engaged in extensive deliberations regarding PG&E’s liquidity and financing options, in

28   consultation with experienced legal and financial advisors. (See Wells Decl. at 4; Kurtz Decl. ¶ 9.)
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 1   As described in detail above and in the Kurtz Declaration, PG&E carried out a robust and competitive

 2   marketing process, reviewing competing proposals and selecting the option offering the best terms

 3   following multiple rounds of negotiations. Accordingly, the Debtors submit that the decision to enter

 4   into the DIP Facilities are the product of their sound business judgment.

 5                    2.      The DIP Facilities Were Negotiated in Good Faith and at Arm’s Length, Their
                              Terms Are Fair, Reasonable and Adequate, and PG&E Could Not Obtain
 6                            Credit Available on More Favorable Terms.
 7          A debtor is not required to seek alternative financing from every possible lender before it may

 8   grant administrative expense claims or incur secured debt. See In re Snowshoe Co., 789 F.2d 1085,

 9   1088 (4th Cir. 1986) (more favorable credit unavailable where debtor contacted lenders in the

10   “immediate geographic area” and they would not extend unsecured credit); see also In re Reading

11   Tube Indus., 72 B.R. 329, 332 (Bankr. E.D. Pa. 1987). Rather, the debtor need only demonstrate that

12   it made a “reasonable effort” to obtain unsecured credit from other lenders. In re Ames Dep’t Stores,

13   Inc., 115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990) (citing cases); In re Capitol Station 65, LLC, No. 17-

14   23627-B-11, 2018 WL 333863, at *12 (Bankr. E.D. Cal. Jan. 8, 2018).

15          PG&E engaged in a competitive and thorough marketing process to obtain the most favorable

16   postpetition financing available. PG&E’s marketing process, and the negotiations of the terms of the

17   DIP Facilities, were carried out in good faith and at arm’s length through sophisticated and experienced

18   legal and financial advisors. (See Kurtz Decl. ¶¶ 7-19.) Based on an evaluation of all reasonably

19   available options, the DIP Facilities represent the best financing available to the Debtors. (Id. ¶ 30.)

20          As noted in the Wells Declaration, given PG&E’s financial circumstances and credit profile,

21   financing was not available except for secured indebtedness or alternative forms of capital that would

22   have been be unduly expensive or dilutive. (See Wells Decl. at 19.) Moreover, PG&E was unable to

23   obtain funding through a legislative, regulatory, executive or other governmental solution. (Wells

24   Decl. at 5-6.)

25          Finally, as described more fully above, PG&E was unable to obtain financing without agreeing

26   to provide the lenders with certain terms enumerated in the Guidelines. PG&E submits that approving

27   such terms is appropriate under the circumstances because (a) the DIP Lenders were unwilling to

28   extend $5.5 billion in credit without such terms; and (b) the terms of the DIP Facilities are otherwise
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 1   favorable to the Debtors and their estates. (See Kurtz Decl. ¶¶ 21-23.) Notably, the DIP Facilities do

 2   not subject PG&E to any milestones related to a sale or plan process, and it contains no financial

 3   covenants. (See id. ¶ 23.) Moreover, provisions similar to the enumerated terms at issue here are

 4   frequently approved in this district, see, e.g., Blue Earth, Inc. et al., Case No. 16-30296 (Bankr. N.D.

 5   Cal. Apr. 29, 2016) [Docket No. 116]; In re Newzoom, Inc., Case No. 15-31141 (Bankr. N.D. Cal.

 6   Oct. 15, 2015) [Docket No. 153]; In re Rdio, Inc., Case No. 15-31430 (Bankr. N.D. Cal. Dec. 10,

 7   2015) [Docket No. 122], and in large chapter 11 cases elsewhere, see, e.g., In re Toys ‘‘R’’ Us, Inc.,

 8   Case No. 17-34665 (Bankr. E.D. Va. Sep. 20, 2017) [Docket No. 98].

 9           For the foregoing reasons, the Debtors submit that the DIP Facilities were negotiated at arm’s

10   length and in good faith, that its terms are fair, reasonable and adequate, and that the DIP Facilities

11   represent the best financing available to PG&E under the circumstances.

12                     3.      The DIP Facilities are Necessary, Essential and Appropriate for the
                               Continued Operation of PG&E’s Businesses and the Preservation of its
13                             Estates and are in the Best Interest of the Estate and its Creditors.
14           The DIP Facilities are necessary for the continued operation of the Debtors’ businesses and the

15   preservation of their estates. As discussed above and in the Kurtz Declaration, the DIP Facilities were

16   sized based upon the Debtors’ projected cash flow and liquidity needs for the anticipated duration of

17   these chapter 11 proceedings. (See Kurtz Decl. ¶ 9.) Without access to this financing, the Debtors

18   would lack sufficient liquidity to continue operating, putting at risk not only the assets of the Debtors’

19   estates but the Debtors’ ability to provide electricity and natural gas to their millions of customers.

20   (Wells Decl. at 3; see also Kurtz Decl. ¶ 28.) Accordingly, the DIP Facilities preserve the Debtors’

21   operations and is in the best interests of the estate and its creditors.

22           B.     The Proposed Interim Order Should Be Granted
23                     1.      The Court Should Conduct a Preliminary Expedited Hearing
24           Bankruptcy Rule 4001(c) provides that a final hearing on a motion to obtain financing may not
25   be commenced earlier than 14 days after the service of such motion. Upon request, however, the Court
26   is authorized to conduct a preliminary expedited hearing on a motion to access the DIP Facilities to
27   the extent necessary to avoid immediate and irreparable harm to a debtor’s estate pending a final
28   hearing. Pursuant to Bankruptcy Rule 4001(c), PG&E requests that the Court conduct an expedited
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 1   preliminary hearing on the Motion and (i) authorize the Debtors to obtain DIP Financing in order to

 2   (a) maintain and finance their ongoing operations and (b) avoid immediate and irreparable harm and

 3   prejudice to the Debtors’ estates and all parties in interest, and (ii) schedule a Final Hearing on the

 4   relief requested herein.

 5             Absent authorization from the Court to access the DIP Loans on an interim

 6   basis pending a Final Hearing, the Debtors and their creditors will be immediately and irreparably

 7   harmed. As set forth above, the Debtors’ ability to access the DIP Facilities on the terms described

 8   herein is critical to their ability to operate their business. Accordingly, the Interim Order should be

 9   granted.

10                      2.      The Debtors Require Immediate Access to the DIP Facilities

11             The Court may grant interim relief in respect of a motion filed pursuant to section 363(c) or

12   364 of the Bankruptcy Code where, as here, interim relief is “necessary to avoid immediate and

13   irreparable harm to the estate pending a final hearing.” Fed. R. Bankr. P. 4001(b)(2), (c)(2). In

14   examining requests for interim relief under this rule, courts generally apply the same business

15   judgment standard applicable to other business decisions. See, e.g., In re Seriosa, Case No. 2:16-BK-

16   14276-RK, 2016 WL 3478953, at *1 (Bankr. C.D. Cal. June 20, 2016).

17             The Debtors and their estates will suffer immediate and irreparable harm if the interim relief

18   requested herein, including authorizing the Debtors to access $1.5 billion under the DIP Facilities, is

19   not granted promptly after the Petition Date. As set forth in the Wells Declaration, and as further

20   detailed above, the Debtors have an immediate need for access to financing to continue the operation

21   of their business, meet payroll, procure energy supply and other goods and services from vendors and

22   suppliers and otherwise satisfy their working capital and operational needs, all of which is required to

23   preserve and maintain the Debtors’ value for the benefit of all parties in interest. (See Wells Decl. at

24   22-24.)

25             The importance of a debtor’s ability to access debtor-in-possession financing facilities to

26   prevent immediate and irreparable harm to its estate has been repeatedly recognized in this and other

27   circuits in similar circumstances. See, e.g., In re Fleetwood Enterprises, Inc., et al., Case No. 09-

28   14254-MJ (Bankr. C.D. Cal. Mar. 31, 2009) [Docket No. 183] (approving postpetition financing and
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 1   modifying the automatic stay where, “[w]ithout the DIP Financing, the Debtors’ operations would be

 2   discontinued or severely disrupted, and the Debtors would be unable to pay operating expenses,

 3   including expenses for necessary inventory and payroll, and to operate their businesses in an orderly

 4   manner, thereby severely impairing their ability to reorganize”); In re Gardens Reg’l Hosp., Case No.

 5   2:16-bk-17463-ER, 2017 WL 7101146, at *12 (Bankr. C.D. Cal. July 28, 2017); In re Breitburn

 6   Energy Partners LP, et al., Case No. 16-11390 (SMB) (Bankr. S.D.N.Y. May 23, 2016) [Docket No.

 7   73] (order approving postpetition financing on an interim basis); In re SunEdison, Inc., Case No. 16-

 8   10992 (SMB) (Bankr. S.D.N.Y. Apr. 26, 2016) [Docket No. 87] (same); In re The Great Atl. & Pac.

 9   Tea Co., Inc., Case No. 15-23007 (RDD) (Bankr. S.D.N.Y. July 21, 2015) [Docket No. 88] (order

10   approving postpetition financing on an interim basis); In re Eastman Kodak Co., et al., Case No. 12-

11   10202 (MEW) (Bankr. S.D.N.Y. Jan. 20, 2012) [Docket No. 54] (same).

12          As set forth in the Wells Declaration, access to the DIP Facilities during the Interim Period

13   would provide the Debtors sufficient liquidity to stabilize their operations and fund the administration

14   of these Chapter 11 Cases. Specifically, the DIP Facility will allow the Debtors to: (a) acquire timely

15   energy supply that is essential to the Debtors’ ability to provide uninterrupted services to its customers;

16   (b) provide the liquidity necessary to stabilize supply with other non-energy vendors including those

17   performing critical safety, vegetation management, and wildfire restoration services; (c) fund

18   approximately $260 million of payroll obligations coming due in the first month of the Chapter 11

19   Cases; (d) fund other essential payments made under first day orders; (e) fund approximately $400

20   million of collateral that the state has requested to backstop the Debtors’ workers’ compensation plans;

21   (f) fund the administrative costs of these Chapter 11 Cases; and (g) permit the Debtors to maintain a

22   working capital reserve of $450 million to cover the intra month timing of energy supply costs. The

23   interim DIP funding amount would also provide a reasonable liquidity buffer to the Debtors in the

24   event they underperform their projections, or in case unexpected fluctuations occur in energy markets

25   causing a disruption in supply or requirements to post additional collateral, which could result in the

26   need to access several hundred million dollars within a day’s time. Furthermore, the liquidity buffer

27   provides the Utility with the necessary resources to respond to winter storms or other emergency

28   circumstances. (See Wells Decl. at 23.)
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 1           Moreover, ensuring that the Debtors continue to operate pending a final hearing on the DIP

 2   Motion is not merely a commercial objective. Unlike many other chapter 11 cases, here, it is especially

 3   crucial that the Debtors obtain financing to continue their operations because the Debtors provide

 4   energy to nearly 16 million people across 700,000 square miles in Northern and Central California.

 5   Given the nature of the Debtors’ businesses, any interruption of the Debtors’ ability to pay vendors

 6   and operate their businesses could potentially (i) cause environmental hazards or pose significant risk

 7   to the environment, (ii) pose a threat to health and public safety, or (iii) compromise the ability to

 8   provide power to the California electrical grid. (See Wells Decl. at 24.)

 9           Accordingly, for the reasons set forth above, entry of the Interim Order is necessary to avoid

10   immediate and irreparable harm to the Debtors’ estates and is consistent with, and warranted under,

11   Bankruptcy Rules 4001(b)(2) and (c)(2) as well as Bankruptcy Rule 6003(b).

12           C.     The DIP Lenders Should Be Deemed Good Faith Lenders under Section 364(e)

13           Section 364(e) of the Bankruptcy Code protects a good faith lender’s right to collect on loans

14   extended to a debtor, and its right in any lien securing those loans, even if the authority of the debtor

15   to obtain such loans or grant such liens is later reversed or modified on appeal. Section 364(e) provides

16   that:

17                  The reversal or modification on appeal of an authorization under this
                    section [364 of the Bankruptcy Code] to obtain credit or incur debt, or
18                  of a grant under this section of a priority or a lien, does not affect the
                    validity of any debt so incurred, or any priority or lien so granted, to an
19
                    entity that extended such credit in good faith, whether or not such entity
20                  knew of the pendency of the appeal, unless such authorization and the
                    incurring of such debt, or the granting of such priority or lien, were
21                  stayed pending appeal.
22   11 U.S.C. § 364(e).
23           As explained in detail herein and in the Kurtz Declaration, the DIP Facilities are the result of

24   PG&E’s reasonable and informed determination that the DIP Lenders offered the most favorable terms

25   pursuant to which PG&E could obtain postpetition financing. All negotiations regarding the DIP

26   Facilities were conducted in good faith and on an arm’s length basis. The terms and conditions of the

27   DIP Facilities are fair and reasonable, and the proceeds of the DIP Facilities will be used only for

28   purposes that are permissible under the Bankruptcy Code. Further, no consideration is being provided
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 1   to any party to the DIP Facilities other than as described herein or set forth in the Fee Letters which

 2   the Debtors have provided to the Court and the Office of the United States Trustee, and have sought,

 3   on the date hereof, to file under seal. Accordingly, the Court should find that the DIP Lenders are

 4   “good faith” lenders within the meaning of section 364(e) of the Bankruptcy Code, and are entitled to

 5   all of the protections afforded by that section.

 6          D.      The Scope of The Carve-out Is Appropriate

 7          The DIP Liens are subject to the Carve-Out. Without the Carve-Out, the Debtors and other

 8   parties-in-interest may be deprived of certain rights and powers because the services for which

 9   professionals may be paid in these Chapter 11 Cases would be restricted. See In re Ames Dep’t Stores,

10   Inc., 115 B.R. 34, 38 (Bankr. S.D.N.Y. 1990) (observing that courts insist on carve-outs for

11   professionals representing parties in interest because “[a]bsent such protection, the collective rights

12   and expectations of all parties-in-interest are sorely prejudiced”). The Carve-Out does not directly or

13   indirectly deprive the Debtors’ estates or other parties-in-interest of possible rights and powers.

14   Additionally, the Carve-Out ensures that assets will be available for the payment of fees of the Clerk

15   of Court or the Office of the United States Trustee for the Northern District of California and

16   professional fees of the Debtors and any statutory Committee appointed in these Chapter 11 Cases.

17          E.      The Automatic Stay Should Be Modified on a Limited Basis

18          The     relief   requested    herein   contemplates   a   modification    of   the    automatic

19   stay to permit the Debtors to grant the DIP Liens and, subject to a seven day notice period, permit the

20   DIP Agents to enforce its remedies under the DIP Credit Agreement as against the Debtors. Stay

21   modifications of this kind are ordinary and standard features for DIP financing, and in the Debtors’

22   business judgment, are reasonable and fair under the present circumstances. See, e.g., In re Gardens

23   Reg’l Hosp., No. 2:16-BK-17463-ER, 2017 WL 7101146 (Bankr. C.D. Cal. Jul. 28, 2016); In re

24   Fleetwood Enterprises, Inc., et al., Case No. 09-14254-MJ (Bankr. C.D. Cal. Apr. 1, 2009) [Docket

25   No. 183]; In re SunEdison, Inc., Case No. 16-10992 (SMB) (Bankr. S.D.N.Y. Apr. 26, 2016) [Docket

26   No. 87]; In re Aeropostale, Inc., Case No. 16-11275 (SHL) (Bankr. S.D.N.Y. May 06, 2016) [Docket

27   No. 99].

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 1          F.      Bankruptcy Rule 4001(a)(3) Should Be Waived

 2          The Debtors request a waiver of the stay of the effectiveness of the order approving this Motion

 3   under Bankruptcy Rule 4001(a)(3). Bankruptcy Rule 4001(a)(3) provides, “[a]n order granting a

 4   motion for relief from an automatic stay made in accordance with Rule 4001(a)(1) is stayed until the

 5   expiration of fourteen days after entry of the order, unless the court orders otherwise.” As explained

 6   herein, access to the DIP Facilities is essential to prevent irreparable damage to the Debtors’ estates.

 7   Accordingly, ample cause exists to justify the waiver of the fourteen-day stay imposed by Bankruptcy

 8   Rule 4001(a)(3), to the extent such stay applies.

 9          G.      Bankruptcy Rule 6003 Has Been Satisfied

10          Bankruptcy Rule 6003(b) states that, to the extent relief is necessary to avoid immediate and

11   irreparable harm, a bankruptcy court may issue an order granting “a motion to use, sell, lease, or

12   otherwise incur an obligation regarding property of the estate, including a motion to pay all or part of

13   a claim that arose before the filing of the petition” before 21 days after filing of the petition. The

14   Debtors’ estates would suffer immediate and irreparable harm if the relief sought herein is not

15   promptly granted. Accordingly, the Debtors submit that the relief requested herein is necessary to

16   avoid immediate and irreparable harm and, therefore, Bankruptcy Rule 6003 is satisfied.

17   VII.   REQUEST FOR BANKRUPTCY RULE 6004(a) AND (h) WAIVERS

18          To implement the foregoing successfully, the Debtors seek a waiver of the notice requirements

19   under Bankruptcy Rule 6004(a) and the 14-day stay of an order authorizing the use, sale, or lease of

20   property under Bankruptcy Rule 6004(h). As explained above and in the Wells Declaration, the relief

21   requested herein is necessary to avoid immediate and irreparable harm to the Debtor’s estates.

22   Accordingly, ample cause exists to justify the waiver of the notice requirements under Bankruptcy

23   Rule 6004(a) and the 14-day stay imposed by Bankruptcy Rule 6004(h), to the extent such notice

24   requirements and such stay apply.

25   VIII. RESERVATION OF RIGHTS

26          Nothing contained herein is intended or shall be construed as (i) an admission as to the validity

27   of any claim or lien against the Debtors, (ii) a waiver of the Debtors’ or any appropriate party-in-

28   interest’s rights to dispute the amount of, basis for, or validity of any claim against the Debtors, (iii) a
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 1   waiver of any claims or causes of action which may exist against any creditor or interest holder, or

 2   (iv) an approval, assumption, adoption, or rejection of any agreement, contract, lease, program, or

 3   policy between the Debtors and any third party under section 365 of the Bankruptcy Code. Likewise,

 4   if the Court grants the relief sought herein, any payment made pursuant to the Court’s order is not

 5   intended to be and should not be construed as an admission to the validity of any claim or a waiver of

 6   the Debtors’ rights to dispute such claim subsequently.

 7   IX.    NOTICE

 8          Notice of this Motion will be provided to (i) the Office of the United States Trustee for Region

 9   17 (Attn: James L. Snyder, Esq. and Timothy Laffredi, Esq.); (ii) the Debtors’ fifty (50) largest

10   unsecured creditors on a consolidated basis; (iii) the Securities and Exchange Commission; (iv) the

11   Internal Revenue Service; (v) the Office of the California Attorney General; (vi) the California Public

12   Utilities Commission; (vii) the Nuclear Regulatory Commission; (viii) the Federal Energy Regulatory

13   Commission; (ix) the Office of the United States Attorney for the Northern District of California; (x)

14   counsel for the agent under the Debtors’ proposed debtor in possession financing facilities; and

15   (xi) those persons who have formally appeared in these Chapter 11 Cases and requested service

16   pursuant to Bankruptcy Rule 2002. Based on the urgency of the circumstances surrounding this

17   Motion and the nature of the relief requested herein, the Debtors respectfully submit that no further

18   notice is required.

19          No previous request for the relief sought herein has been made by the Debtors to this or any

20   other court.

21          WHEREFORE the Debtors respectfully request entry of the Interim Order granting the relief

22   requested herein and such other and further relief as the Court may deem just and appropriate.

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     Dated: January 29, 2019      CRAVATH, SWAINE & MOORE LLP
 1                                WEIL, GOTSHAL & MANGES LLP
 2                                KELLER & BENVENUTTI LLP

 3                             By: /s/ Tobias S. Keller
                                  Tobias S. Keller
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 5                                Proposed Attorneys for Debtors and Debtors in Possession
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